     Case 1:18-cv-01388-TSC Document 169-16 Filed 06/24/22 Page 1 of 4




                                 Exhibit 15


    To the Declaration of Olivia P. Greene in Support of Plaintiffs’
Combined Opposition to Defendants’ Motion for Relief from the Court’s
  Orders and Cross-Motion to Enforce and Clarify the Court’s Orders




Afghan and Iraqi Allies Under Serious Threat Because of Their Faithful Service to
              the United States v. Blinken, No. 18-cv-01388-TSC
                 Case 1:18-cv-01388-TSC Document 169-16 Filed 06/24/22 Page 2 of 4




                                               Democracy Dies in Darkness




Numbers behind Afghanistan
evacuation come into focus
  Analysis by Glenn Kessler
  Staff writer
May 25, 2022 at 3:00 a.m. EDT


“We got out thousands of citizens and diplomats from those countries that went into Afghanistan with us to get bin
Laden. We got out locally employed staff of the United States Embassy and their families, totaling roughly 2,500
people. We got thousands of Afghan translators and interpreters and others who supported the United States out,
as well.”

— President Biden, remarks on the end of the war in Afghanistan, Aug. 31

Nine months after the chaotic U.S. withdrawal from Afghanistan, a question still lingers: Which Afghans actually
managed to get on the planes after the fall of Kabul?

The numbers often are obscured in reports written in dense government prose, and U.S. officials are reluctant to
discuss the figures in on-the-record interviews.

But a review of these reports and extensive interviews with U.S. officials with direct knowledge of the process —
several of whom spoke on the condition of anonymity to disclose information that has not yet been made public —
show that the evacuees can be broadly fit into three categories, with the smallest containing qualified Afghans who
already held a special visa to come to the United States because they worked for the U.S. government.

The Special Immigrant Visas (SIV) program, reserved for people who in most cases worked at least a year for the
U.S. government, provides permanent admission to the United States, without requiring that the applicants
demonstrate economic self-sufficiency. Spouses and children may accompany the applicant.

All told, according to the U.S. officials interviewed for this report, about 76,000 Afghans were evacuated during the
airlift with the goal of reaching the United States before U.S. forces departed Afghanistan on Aug. 30. An additional
9,000 have left the country since then, according to the officials.

The numbers fall into three main categories. Let’s take a look at each category in order.




Category 1: No direct U.S. government service
                Case 1:18-cv-01388-TSC Document 169-16 Filed 06/24/22 Page 3 of 4
The most opaque category includes more than 36,000 Afghan evacuees, or about 40 percent of those rescued, who
could not claim any direct U.S. government service but managed to get on the planes anyway, according to U.S.
officials who helped interpret figures in a Department of Homeland Security report submitted to Congress in
December.

All of these people — along with the vast majority of other evacuees — have been granted “humanitarian parole,”
according to the DHS report. This status is granted to those who have a “compelling emergency” and show an
“urgent humanitarian reason or significant public benefit” to gain temporary entry to the United States, according to
U.S. Citizenship and Immigration Services. This means they can live and work in the United States for two years but
do not yet have a direct pathway to secure permanent legal residency.

Some might have been related to U.S. citizens or permanent residents or were extended family members of SIV
applicants, according to the DHS report. Others do not fit in any category but boarded the planes anyway.

Some in this category of the Afghan citizens who have arrived in the United States might have qualified as refugees,
but under the law, they cannot be processed as refugees because they are already in the United States, according to
U.S. officials. These officials said the evacuees are being treated as if they are refugees, receiving all of the same
benefits, and many have been advised to apply for asylum.

The pace of processing the evacuees has been slow. As of May 8, according to U.S. officials, 5,046 Afghan evacuees
have submitted I-485 (permanent residence) applications; of those, 477 have been approved. Meanwhile, 661
Afghans have submitted I-589 principal asylum applications; of those, 60 have been approved. An additional 512
Afghans have sought to adjust their immigrant status through a family member already legally in the United States.




Category 2: On the visa fast track
The second category includes almost 37,000 people who worked for the United States but had not applied for visas
before fleeing Afghanistan, according to the DHS report and U.S. officials. Nevertheless, they are being fast-tracked
for SIVs and resettlement in the United States.

More than 30,000 of these people, and their families, are associated with the CIA, according to U.S. government
officials who spoke on the condition of anonymity because of the sensitivity of the matter. The officials said this
group of evacuees consisted of members of a controversial paramilitary group known as the Khost Protection Force
(KPF) as well as people who worked directly with U.S. forces while employed by the National Directorate of Security
(NDS), the former Afghan national intelligence and security service.

Senior administration officials declined to discuss on the record the fact that many evacuees had CIA connections.
But officials pointed to bureaucratic-sounding language buried in a Department of Homeland Security report that
cites a figure of 36,821 to describe this category: “Afghan evacuees who have applied to the SIV program on the basis
of having been employed by or on behalf of the U.S. Government or the International Security Assistance Force, or
by a successor mission in certain capacities in Afghanistan, as well as Afghan evacuees who are known to be eligible
to apply to the SIV program, had not yet applied at the time this report was produced, and are expected to do so.”
               Case 1:18-cv-01388-TSC Document 169-16 Filed 06/24/22 Page 4 of 4
Matt Zeller, an adjunct fellow at the America Security Project who is associated with the Association of Wartime
Allies (AWA), a nongovernment group, said he has frequently encountered former members of the KPF, with their
distinctive tiger-stripe uniforms, when he visited U.S. bases housing Afghan refugees. He said the soldiers told him
they had helped set up a security perimeter between the Taliban checkpoints and the airport entrance. (The
Washington Post has previously reported that Afghan special forces trained by the CIA helped evacuate more than
2,000 American citizens and permanent residents.)

U.S. officials say many of the Afghans in this category would have been eligible to apply for SIVs but had never
thought of getting the documents as they had planned to remain in the country indefinitely. But their identities had
been kept in government databases, and they had been vetted constantly when they worked for the U.S. government,
so compared with other Afghan refugees, their paperwork for resettlement is considered in pretty good shape.




Category 3: Visa recipients
The third category contains people who already held an SIV — the document that is supposed to be the main
pathway into the United States for Afghans who worked for the U.S. government.

The number in the category made up just about 5 percent of the evacuees: 3,290.

One issue with SIVs is that they expire six months after being issued. But experts say many Afghans eligible under
this category were unable to make it onto the airlift planes.

A February report by AWA estimated that of 81,000 people in Afghanistan with visa applications pending as of Aug.
15, 2021, the day Kabul fell, 78,000 were left behind.

U.S. officials say they are unable to replicate these estimates and that many people may have had incomplete
applications, specifically not having chief of mission approval. Such approval can be difficult to obtain. It requires
verification of employment for the United States or the International Security Assistance Force in Afghanistan, a
letter of recommendation from a direct U.S. supervisor, and a statement of threats received because of the job he or
she did for the United States.

(About our rating scale)

Send us facts to check by filling out this form

Sign up for the Fact Checker weekly newsletter

The Fact Checker is a verified signatory to the International Fact-Checking Network code of
principles
